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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                            :          CASE NO. 21-57455-JWC
                                                  :
LATERRICA A. LUTHER,                              :          CHAPTER 7
                                                  :
         Debtor.                                  :
                                                  :


         NOTICE OF PLEADING, DEADLINE TO OBJECT, AND FOR HEARING

         PLEASE TAKE NOTICE that on January 6, 2022, S. Gregory Hays, as Chapter 7

Trustee (“Trustee”) for the bankruptcy estate (the “Bankruptcy Estate”) of Laterrica A. Luther

(“Debtor”), filed a Motion to Extend Deadline for Trustee and United States Trustee to Object to

Debtor’s Discharge [Doc. No. 34] (the “Motion”) and related papers with the Court, seeking an

order from the Court extending the deadline for Trustee or the United States Trustee to file a

complaint objecting to Debtor’s discharge, through and including April 10, 2022.

         Pursuant to Second Amended and Restated General Order No. 24-2018, the Court may

consider this matter without further notice or a hearing if no party in interest files a response or

objection within twenty-one (21) days from the date of service of this notice. If you object to

the relief requested in the Motion, you must timely file your objection with the Bankruptcy

Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W.,

Atlanta, Georgia 30303, and serve a copy on the Trustee, S. Gregory Hays, 2964 Peachtree

Road, NW, Ste 555, Atlanta, GA 30305, and any other appropriate persons by the objection

deadline. The response or objection must explain your position and be actually received by the

Bankruptcy Clerk within the required time.
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        PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic

hearing for announcements on the Motion at the following number: (toll-free number: 833-568-

8864; meeting id: 160 459 5648, at 11:00 A. M. on February 3, 2022 in Courtroom 1203,

United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303. If an objection or

response is timely filed and served, the hearing will proceed as scheduled.

       Matters that need to be heard further by the Court may be heard by telephone, by video

conference, or in person, either on the date set forth above or on some other day, all as

determined by the Court in connection with this initial telephonic hearing. Please review the

“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and

Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,

www.ganb.uscourts.gov for more information.

       If you do not file a response or objection within the time permitted, the Court may

grant the relief requested without further notice or hearing provided that an order approving

the relief requested is entered at least one business day prior to the scheduled hearing. If no

objection is timely filed, but no order is entered granting the relief requested at least one business

day prior to the hearing, the hearing will be held at the time and place as scheduled.

       Your rights may be affected. You should read these papers carefully and discuss

them with your attorney, if you have one in this bankruptcy case. If you do not have an

attorney, you may wish to consult one.

       Dated: January 5, 2022.

                                                       /s/ S. Gregory Hays
                                                      S. Gregory Hays
Hays Financial Consulting, LLC                        Chapter 7 Trustee
2964 Peachtree Road, NW, Ste 555
Atlanta, GA 30305
(404) 926-0060
